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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                          *       CRIMINAL NO. 15-0133-03


 VERSUS                                            *       JUDGE ROBERT G. JAMES


 BARBARA J. ISLAND                                 *       MAG. JUDGE KAREN L. HAYES

                                       JUDGMENT

       The Report and Recommendation of the Magistrate Judge having been considered, and

the parties having waived their right to object thereto,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the District Court

accepts the guilty plea of the defendant, Barbara Island, and adjudges her guilty of the offense

charged in Count One of the Superseding Indictment against her.

       Monroe, Louisiana, this 3rd day of November, 2015.
